.--_1   1:'
                                                      - ~.:--   1
              Case 1:13-cr-00282-JSR Document 146              Filed 04/02/18
                                               · - • -·---;------.---..---..-- .,_. - ;: . ·- - :,-.-
                                                                                                      Page_,:_1l of
                                                                                                                 t -·
                                                                                                                      2   _·"'.   -   t   I ~~-...; ·•


                                                                                            r:u:=:sac====~SDNY==.=====.:=i·l·                            -
                                                                                                                                                         1



                                                                                             DOOJM.ENr
                                    UNITED STATES DISTRICT CO
                                   SOUTHERN DISTRICT OF NEW                                 ~ ~~
                                                                                          l!::::====-~=·=~==~Ett:~~-~=-=1                 ___
UNITED STATES OF AMERICA,                                           Docket No.       1:13   CR 282-01 (JSR)
                       v.
EDGAR PALTZER,

              Defendant.


              ~         ~UNOPPOSED MOTION TO RELEASE
              -~         PROPERTY HELD AS SECURITY FOR BAIL

              The Defendant Edgar Paltzer and the United States move this court

for an order releasing certain property held as security for bail.

              On August 14, 2013, the Honorable Victor Marrero released the

defendant on bail after his plea of guilty. Bail was set at $2,000,000 PRB.

Security for the bail included, in part, a painting entitled "La Gardeuse De

Chevres". That painting has been stored at Crozier Fine Arts, Inc. since the

defendant was released on bail.

              On March 22,           2018,     the defendant was sentenced by the court. The

sentence included a fine of $75,000.00 and a special assessment of

$100.00.             On March 29,            2018,     the defendant paid to the clerk of the court

$75,100.00              in satisfaction of the fine and the special assessment.




DMl\8586852 I
-·.-: :.-1   J   _---'."'~""                              ..... _.__ --.....--:-_ ... .,..,,.......,_   ..
                                                                                                                                                   --- __]
                                                      ~




                                                            -
                                                       -
                                        Case 1:13-cr-00282-JSR Document 146
                                                                         -l
                                                                              Filed 04/02/18' . .I Page
                                                                            ' - ---                I -
                                                                                                        2 of 2 -




                                       At the defendant's sentencing on March 22, 2018, counsel for the

                           defendant requested and the United States did not oppose the release of the

                           painting upon the payment of the fine and the special assessment.

                                       Based on the forgoing it is respectfully requested that the court order

                           the release of the painting by endorsing this motion.

                                                                                                                 Respectfully Submitted,



                                                                                                                 Thomas W. Ostrander
                                                                                                                 DUANE MORRIS LLP
                                                                                                                 30 S. 17th Street
                                                                                                                 Philadelphia, PA 19103-4196
                                                                                                                 Phone: +i 215 979 1802
                                                                                                                 Fax: +1 215 689 3639
                                                                                                                 Email: Ostrander@duanemorris.com
                                                                                                                 Attorney for Defendant Edgar Paltzer




                                                                                                             2
                               DMl\8586852 I
